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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ______________________________________
 Trisha Tshudy,                         :
                                        :
          Plaintiff                     :
                                        : Civil Action No. 22-cv-03336
    vs.                                 :
                                        : Hon. Wendy Beetlestone
 Pennsylvania State University          :
                                        :
         Defendant                      :
 ______________________________________ :



         THE PENNSYLVANIA STATE UNIVERSITY’S MOTION TO DISMISS
           PLAINTIFF’S COMPLAINT FOR FAILURE TO STATE A CLAIM

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant, The Pennsylvania State

University (“PSU”), by and through its undersigned counsel, respectfully moves this Court to

dismiss Plaintiff, Trisha Tshudy’s Complaint for failure to state a claim upon which relief can be

granted. For the reasons set forth in PSU’s accompanying Memorandum of Law, PSU respectfully

requests that this Court enter the attached, proposed form of order.

       Via Order dated September 13, 2022 (ECF No. 24), the United States District Court for the

Eastern District of Pennsylvania Court transferred this case to the United States District Court for

the Middle District of Pennsylvania. While PSU’s Motion to Dismiss will ultimately be heard by

and before the Middle District, PSU’s response to Plaintiff, Trisha Tshudy’s Complaint is due

today and, therefore, PSU is filing its Motion to Dismiss at this time so that it is timely filed.
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                                         Respectfully submitted,

Dated: September 13, 2022                BUCHANAN INGERSOLL & ROONEY PC

                                         By: /s/ Geoffrey F. Sasso
                                            Geoffrey F. Sasso (Pa. ID 202936)
                                            George Morrison (Pa. ID 203223)
                                            Erin Lucas Hamilton (Pa. ID 93852)
                                            Two Liberty Place
                                            50 S. 16th Street, Suite 3200
                                            Philadelphia, PA 19102
                                            P: 215-665-8700
                                            F: 215-665-8760
                                            geoff.sasso@bipc.com
                                            george.morrison@bipc.com
                                            erin.hamilton@bipc.com

                                         Attorneys for Defendant, The
                                         Pennsylvania State University
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of September, 2022, a true and correct copy of the

Defendant The Pennsylvania State University’s Motion to Dismiss Plaintiff’s Complaint and

Supporting Memorandum of Law was filed by the Court’s Electronic Case Filing System and is

available for viewing and downloading from the ECF system. The below was served via ECF:

                                   William C. Reil, Esquire
                                Law Offices of William C. Reil
                                 1420 Locust Street, Suite 420
                                   Philadelphia, PA 19102


                              Attorney for Plaintiff, Trisha Tshudy




                                                    /s/ Geoffrey S. Sasso
                                                    Geoffrey F. Sasso, Esquire
                                                    Attorney for Defendant,
                                                    The Pennsylvania State University
